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24TH JUDICIAL DISTRICT COURT

— PARISH OF JEFFERSON
STATE OF LOUISIANA
ITEM NUMBER: WARRANT NUMBER:
F-21850-22
ARREST WARRANT
STATE OF LOUISIANA

VERSUS
ASHTON MALIK JOHNSON - BLACK/AFRICAN AMERICAN/MALE

4419 Werner Dr. New Orleans, Louisiana 70126
DOB: 02/22/1999

DLAD #11244416 SSN: XXX-XX-XXXX
Height: 5'9" Weight: 124

Eye Color: Brown Hair Color: Black
DM:

TO ANY COMMISSIONED PEACE OFFICER:
WHEREAS, complaint has been made to me, upon the sworn affidavit of Detective Andrew R
Bartholomew, with the Jefferson Parish Sheriff's Office, charging one Ashton Malik Johnson with:

10 Count(s) of 14:71.1-- BANK FRAUD-- (Felony)

10 Count(s) of 14:67.16 C(1-3)-- Identity Theft (Felony)-- (Felony)

1 Count(s) of 14:67 B2—- Theft $5000 but less than $25k (F elony)-- (Felony)
Committed on or about the date(s) of 06-22-2022.

Now, therefore, you are hereby commanded, in the name of the State, to apprehend and arrest and book the
said accused to answer the said complaint. You are further commanded to keep the said accused in safe

custody until released according to law, and this shall be your warrant.
Given under my official signature, this 18 day of Jul, 2022 at 04:29 PM.

ok tr WCSC- only
he am, 71053!

Judge Paul Schneider

24TH JUDICIAL DISTRICT COURT
—- PARISH OF JEFFERSON

STATE OF LOUISIANA

PLAINTIFF'S

1 13

Case Number: F-21850-22 Warrant Number: Approved on: Jul, 18, 2022 at 04:29 PM

